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                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA                §
                                        §
versus                                  §       CASE NO. H-19-488-S1-01
                                        §
MARIBEL SANTANA-CERANO                  §


                                       ORDER

          On__________________________, 2021, the COURT having Considered

Defendant, MARIBEL SANTANA CERANO’s Motion to Continue Plea Date /

Rearraignment¸ and the Court hereby ORDERS that said Motion to Continue

Plea Date / Rearraignment is hereby;

                         GRANTED / DENIED



      SIGNED on __________________________,



                                                    __________________________,
                                                    JUDGE PRESIDING




                                            1
